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O PS 8
(3/15)


                               UNITED STATES DISTRICT COURT                                                 FILED IN THE
                                                                                                        U.S. DISTRICT COURT
                                                                                                  EASTERN DISTRICT OF WASHINGTON

                                                             for
                                                                                                   Dec 29, 2020
                                            Eastern District of Washington                             SEAN F. MCAVOY, CLERK




U.S.A. vs.                      Jim, Tyler Clint                         Docket No.          0980 1:19CR02024-SAB-1


                                Petition for NoAction on Conditions of Pretrial Release

        COMES NOW Arturo Santana, PRETRIAL SERVICES OFFICER presenting an official report upon the conduct
of defendant Tyler Clint Jim, who was placed under pretrial release supervision by the Honorable U.S. Magistrate Judge
Mary K. Dimke sitting in the Court at Yakima, Washington, on the 10th day of July 2019, under the following conditions:

Standard Condition #9: Defendant shall refrain from the use or unlawful possession of a narcotic drug or other controlled
substances defined in 21 U.S.C. § 802, unless prescribed by a licensed medical practitioner in conformance with Federal
law. Defendant may not use or possess marijuana, regardless of whether Defendant has been authorized medical marijuana
under state law.

Special Condition #7: Defendant shall be subject to portable Breathalyzer testing up to six times per day. The portable
Breathalyzer testing unit shall be set up and paid for by the defendant. Until the device is activated, defendant is required
to report for daily testing with the Probation Office, at the discretion of the Probation Officer.

         RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

Violation #1: Tyler Clint Jim is alleged to have tested positive for methamphetamine on December 8, 2020.

On July 12, 2019, the conditions of pretrial release supervision were reviewed and signed by Mr. Jim. He acknowledged
an understanding of his conditions, which included standard condition number 9.

On December 8, 2020, Mr. Jim reported to Merit Resource Services (Merit) for random urinalysis (UA) testing. The instant
test results were positive for methamphetamine use. The specimen was sent to Alere Laboratory for analysis. On December
14, 2020, this officer received the results for the drug test from the lab which returned positive for the presence of
methamphetamine.

On December 16, 2020, Mr. Jim was confronted regarding his illegal drug use. Initially, the defendant was hesitant to
answer to this officer. He then denied consuming any controlled substances. This officer asked Mr. Jim to be honest and
think about what is in his best interest. Mr. Jim was at his job site, so we scheduled the discussion for another time.

On December 21, 2020, this officer spoke with Mr. Jim about the UA results and he admitted to having consumed
methamphetamine on December 6, 2020. As a result of this noncompliance, the defendant was verbally reprimanded and
referred to Merit to undergo an updated substance abuse evaluation.

Violation #2: Tyler Clint Jim is alleged to have skipped his 10 p.m. to 11 p.m. Breathalyzer test on December 18, 2020, and
his 7 a.m. to 8 a.m. Breathalyzer tests on December 19, and 20, 2020.

On July 11, 2019, the conditions of pretrial release supervision were reviewed and signed by Mr. Jim. He acknowledged
an understanding of his conditions, which included special condition number 7.

On July 12, 2019, confirmation was received from Smart Start indicating the defendant enrolled in their Breathalyzer testing
program.
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On December 19, 20 and 21, 2020, this officer received the daily testing summary reports from Smart Start regarding
Breathalyzer results for December 18, 19, and 20, 2020. The summary reports indicated the defendant skipped his
Breathalyzer test during the above-noted testing periods. As a result of this noncompliant behavior, the defendant was
confronted regarding his Breathalyzer testing requirements. The defendant stated to be have felt sick on the evening of
December 18, 2020, and slept through the sound alarm of the Smart Start Breathalyzer device on December 19 and 20, 2020.

                    PRAYING THAT THE COURT WILL ORDER NO ACTION AT THIS TIME

                                                                        I declare under the penalty of perjury that the
                                                                        foregoing is true and correct.
                                                                        Executed on:       December 29, 2020
                                                                   by   s/Arturo Santana
                                                                        Arturo Santana
                                                                        U.S. Pretrial Services Officer


 THE COURT ORDERS

 [ X]    No Action
 [ ]     The Issuance of a Warrant
 [ ]     The Issuance of a Summons
 [ ]     The incorporation of the violation(s) contained in this
         petition with the other violations pending before the
         Court.
 [ ]     Defendant to appear before the Judge assigned to the
 case.
 [ ]     Defendant to appear before the Magistrate Judge.
 [ ]     Other


                                                                        Signature of Judicial Officer
                                                                        12/29/2020

                                                                        Date
